       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Alexandria City Public Schools and
        Alexandria City School Board
       v. Keri Handel
       Record No. 1582-18-4
       Opinion rendered by Judge Huff on
        May 14, 2019

    2. Christopher Michael Ellis
       v. Commonwealth of Virginia
       Record No. 0256-18-4
       Opinion rendered by Senior Judge Haley on
        May 28, 2019

    3. Braulio Marcelo Castillo, s/k/a
       Braulio Marcello Castillo
       v. Commonwealth of Virginia
       Record No. 0140-17-4
       Opinion rendered by Judge Malveaux on
        June 4, 2019

    4. Johnathan Reeves Robinson
        v. Commonwealth of Virginia
        Record No. 1679-17-2
        Rehearing en banc opinion rendered by Judge Beales on
        June 18, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Lee Alden Mooney
   v. Commonwealth of Virginia
   Record No. 1055-17-2
   Opinion rendered by Judge AtLee
    on August 7, 2018
   Judgment of Court of Appeal affirmed by opinion rendered on June 27, 2019
   (181164)

2. Marvin Kevin Midgette
   v. Commonwealth of Virginia
   Record No. 1692-17-1
   Opinion rendered by Judge Malveaux
    on October 30, 2018
   Refused (181520)

3. Daniel Gordon Anderson
   v. Commonwealth of Virginia
   Record No. 1228-17-1
   Opinion rendered by Judge Chafin
    on November 6, 2018
   Refused (181616)

4. Santraun Deshaud Speller
   v. Commonwealth of Virginia
   Record No. 1826-17-1
   Opinion rendered by Judge Petty
     on November 6, 2018
   Refused (181587)

5. Mitchell Larnell Bennett
   v. Commonwealth of Virginia
   Record No. 1200-17-3
   Opinion rendered by Chief Judge Decker
    on November 20, 2018
   Refused (190198)

6. Cathleen Nelson and William Nelson
   v. Middlesex Department of Social Services and
       John and Jane Doe
   Record No. 2041-17-2
   Opinion rendered by Judge Russell
    on November 20, 2018
   Refused (181657)
7. Dominque Jamar Jones, s/k/a
    Dominique Jamar Jones
   v. Commonwealth of Virginia
   Record No. 1504-17-2
   Opinion rendered by Judge Humphreys
    on December 26, 2018
   Refused (190134)

8. Donald Jamar Johnson
   v. Commonwealth of Virginia
   Record No. 2089-17-2
   Opinion rendered by Judge Beales
    on January 15, 2019
   Refused (190199)

9. Andre Jones
   v. Crothall Laundry and
       New Hampshire Insurance Company
   Record No. 1070-18-4
   Opinion rendered by Chief Judge Decker
    on February 12, 2019
   Dismissed pursuant to Rule 5:14(a) (190320)
       The Supreme Court issued opinions in the following cases, which had been appealed from
this Court:

    1. Carnell Carrington
       v. Aquatic Company, et al.
       Record No. 0628-17-2
       Memorandum opinion rendered by Judge AtLee
        on January 23, 2018
       Judgment of Court of Appeals affirmed by opinion rendered on July 18, 2019
       (180243)

    2. Michael Anthony Young
       v. Commonwealth of Virginia
       Record No. 0265-17-4
       Memorandum opinion rendered by Judge Alston
        on March 20, 2018
       Judgment of Court of Appeal affirmed by opinion rendered on July 3, 2019
       (180515)
